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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division
                                  www.flsb.uscourts.gov

IN RE:                                                           Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                      Case No. 22-bk-13166-PDR

      Debtor.
__________________________________/


                 NOTICE OF CANCELLATION OF EXAMINATION OF
                              JOSEPH MOSCATO

         PLEASE TAKE NOTICE Marc P. Barmat, the Chapter 7 Trustee (“Trustee”), by and

through undersigned counsel, does hereby cancel the examination of Joseph Moscato scheduled

for December 1, 2023 at 10:00 a.m. The Trustee has been advised that the deponent is deceased.

Dated: October 30, 2023                    Respectfully submitted,

                                           By: /s/ Amanda Klopp
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                                           -and-
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                                           Counsel for the Trustee




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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 30, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day by transmission of Notices of Electronic Filing generated by CM/ECF to

those parties registered to receive electronic notices of filing in this case and/or by U.S. Mail as

listed in the below service list.

                                                By: /s/ Amanda Klopp
                                                Amanda Klopp, Esq.

SERVICE LIST

22-13166-PDR Notice will be electronically
mailed to:                                            Mark D. Hildreth, Esq on behalf of Creditor
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                                                     Terry Thompson
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